               Case 3:22-cr-00426-JSC Document 135 Filed 10/31/23 Page 1 of 3




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 9                                 IN THE UNITED STATES DISTRICT COURT

10                             FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                         SAN FRANCISCO DIVISION

12

13
      UNITED STATES OF AMERICA                           Case No.: CR 22-426 JSC
14
                              Plaintiff,                STATUS REPORT RE: SFPD
15                                                      INTERVIEW EXCERPTS
         v.
16
      DAVID WAYNE DEPAPE,
17
                              Defendant.
18

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20            On October 26, 2023, the Court held a pretrial conference in the above-captioned matter. In its

21 ruling as to the government’s motion in limine #4, the Court ordered the parties to “meet and confer

22 regarding any specific statements or excerpts Defendant contends should be admitted to avoid

23 misleading the jury.” Dkt. No. 134 at 2. In advance of the hearing on this issue scheduled for November

24 1, 2023, the defense submits this status report.

25            After having met and conferred, the parties have agreed to the following modification:

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     STATUS REPORT RE: SFPD INTERVIEW EXCERPTS
     DEPAPE, CR 22-426 JSC                    1
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                Case 3:22-cr-00426-JSC Document 135 Filed 10/31/23 Page 2 of 3




 1          •    The government’s fourth excerpt, originally planned to begin at 36:51 of the transcript, will

 2               start instead at 35:25.

 3          The defense also requested that the following portions be included as well to avoid

 4 misleading the jury. The government will not agree to include them. The defense requests that

 5 the Court order that these two excerpts be admitted pursuant to the Rule of Completeness:

 6          •    6:2–8:3: This portion of the interview falls between the government’s first two

 7               excerpts. It comprises Mr. DePape’s full answer to Sgt. Hurley’s question at the end

 8               of the government’s first excerpt about whether the Pelosis have done something to

 9               him (5:18–22). As excerpted by the government, it suggests that Mr. Depape’s full

10               answer to this question was that what the Pelosis did to the American people was just

11               “lies” with Nancy Pelosi “as the leader of the pack.” In fact, he went on to explain

12               that it originated with Hillary [Clinton] and the DNC, and included spying on and

13               spreading lies about a rival campaign. Without the full answer, the jury will instead

14               be left with the incorrect impression that Mr. DePape was upset about Nancy Pelosi

15               lying in only a vague, undefined sense, which is an incomplete presentation of his

16               motivations as he expressed them to Sgt. Hurley. Moreover, it is a conversational

17               quirk that is being used to unreasonably limit the excerpts. Sgt. Hurley merely stating

18               “Right” or “Okay” or “Yeah” in this section is being used to break up the full answer

19               when it was merely a tool to acknowledge her listening to the full conversation. They

20               add nothing to the conversation and, when reviewed in the transcript, unreasonably

21               and unfairly break up the continuous answer that is the entire section from 5:18-8:3.

22          •    16:12–18:19: This portion of the interview falls between the government’s second

23               and third excerpts. In it, Mr. DePape describes what happened between when Paul

24               Pelosi called 911 and when he saw flashing lights at the front door. Excluding this

25               part of the narrative is misleading in that it makes it seem as if Mr. DePape and Mr.

26               Pelosi went straight from the bathroom where the 911 call was made to the front door

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   1 Citations to the transcript will be formatted as [page #]:[line #], and refer to the transcript with
28 the government’s highlights of proposed excerpts that was previously filed at Dkt. No. 99-1.
     STATUS REPORT RE: SFPD INTERVIEW EXCERPTS
     DEPAPE, CR 22-426 JSC                    2
30
              Case 3:22-cr-00426-JSC Document 135 Filed 10/31/23 Page 3 of 3




 1              where they saw flashing lights, when in fact, there were events, conversations, and

 2              movements that occurred in the eight minutes between those two moments.

 3              Moreover, like above, Sgt. Hurley’s interjections are similar to a head nod to allow

 4              the response to continue on with occasional requests for an explanation, an

 5              explanation without which the jury would have an inaccurate and misleading

 6              impression of the admitted excerpts.

 7          The defense additionally may introduce other portions of and/or statements made during

 8 the interview for non-hearsay purposes at the appropriate time at trial.

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12         Dated:    October 31, 2023                      Respectfully submitted,

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                                                                    /S
14                                                         ANGELA CHUANG
                                                           JODI LINKER
15                                                         Counsel for Mr. DePape
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     STATUS REPORT RE: SFPD INTERVIEW EXCERPTS
     DEPAPE, CR 22-426 JSC                    3
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